 1   GARY W. DYER
 2
     Assistant United States Trustee
     United States Dept. of Justice
 3   Office of the United States Trustee
     United States Courthouse
 4   W. 920 Riverside Ave. Room 593
 5   Spokane, Washington 99201
     Telephone (509) 353-2999
 6   Fax (509) 353-3124
 7

 8
                            UNITED STATES BANKRUPTCY COURT
 9                          EASTERN DISTRICT OF WASHINGTON

10

11   In re:                                        }
                                                   }    Case No: 21-00141-WLH11
12   EASTERDAY RANCHES, INC.                       }             AMENDED
                                                   }    APPOINTMENT OF COMMITTEE
13
                                                   }    OF UNSECURED CREDITORS IN A
14
                                    Debtor         }    CHAPTER 11 REORGANIZATION CASE

15
              The United States Trustee hereby appoints the following creditors in the Easterday
16
     Ranch, Inc. case to the committee of unsecured creditors.
17

18    J.R. Simplot                  Alto Nutrients, LLC            Animal Health International
      Attn: Beth Coonts             Attn: Christopher Wright       Heather Kayser
19    1099 W. Front Street          400 Capitol Mall, Suite 2060   P.O. Box 1240
      Boise, ID 83702               Sacramento, CA 95814           Greeley, CO 80632
20    208-780-8264                  916-403-2130                   970-371-9400
      Beth.coonts@simplot.com       cwright@altoingredients.com    Heather.Kayser@pattersonvet.com
21

22
              D A T E D this 16th day of February, 2021.
23

24                                                      Respectfully submitted,
25
                                                        GREGORY M. GARVIN
26                                                      Acting United States Trustee for Region 18
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28                                                      /s/ Gary W. Dyer
                                                        GARY W. DYER
                                                        Assistant United States Trustee




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